             Case 2:23-cv-07789-ARL Document 6 Filed 10/20/23 Page 1 of 2 PageID #: 20

AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      U NITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District of New York   B
                       SHARON DAVIS,                                  )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)
                                                                      )
                                                                      )
                                 V.                                          Civil Action No. 2:23-CV-07789-ARL
                                                                      )
 ROM I MACANI, SARAH MACANI and LEONARDO                              )
               FURNITURE, LTD.
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To· (D ,,, d   ,         d dd .1 Romi Macani - 80 Sealy Drive, Lawrence, NY 11559
   •   eJen an1 s name an a ress/ Sarah Macani - 80 Sealy Drive, Lawrence, NY 11559
                                           Leonardo Furniture, Ltd . - 1500 Old Country Road, Westbury, NY 11590




          A lawsuit has been filed against you.

        Within 21 days after se1vice of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 1 (a)(2) or (3) - you must se1ve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be se1ved on the plaintiff or plaintiffs attorney,
whose name and address are:
                                       Jason L. Abelove
                                       Law Offices of Jason L. Abelove, PC
                                       666 Old Country Road, Garden City, NY 11530




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint..
You also must file your answer or motion with the court..

                                                                                Brenna B. Mahoney
                                                                               CLERK OF COURT


Date: - - -10/20/2023
            ------                                                                        Signature ofClerk or Deputy Clerk
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 Civil Action No. 2:23-CV-07789-ARL

                                                        PROOF OF SERVICE
                       (This sectio11 should 11ot befiled wi th tile court u11less required by F ed. R. Civ. P. 4 (1))

           This summons for (name ofindividual and title, if any)
 was received by me on (date)

           D I personally served the summons on the individual at (place)
                                                                                 on (date}                            ; or

           D I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date}                                , and mailed a copy to the individual's last known address; or
                        --------
           D I served the summons on (name ofindividual)                                                                       , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                 on (date}                            ; or

           D I returned the summons unexecuted because                                                                              ; or

           D Other (specify):



           My fees are$                             for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjmy that this information is true.


 Date:
                                                                                             Server's signature


                                                                                         Printed name and title




                                                                                             Server's address

 Additional information regarding attempted service, etc:
